Case 1:18-cv-00090-GNS-HBB Document 1 Filed 07/13/18 Page 1 of 5 PageID #: 1




                                                                1:18-cv-00090-GNS
Case 1:18-cv-00090-GNS-HBB Document 1 Filed 07/13/18 Page 2 of 5 PageID #: 2
Case 1:18-cv-00090-GNS-HBB Document 1 Filed 07/13/18 Page 3 of 5 PageID #: 3
Case 1:18-cv-00090-GNS-HBB Document 1 Filed 07/13/18 Page 4 of 5 PageID #: 4
Case 1:18-cv-00090-GNS-HBB Document 1 Filed 07/13/18 Page 5 of 5 PageID #: 5
